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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


    ALEJANDRO MENOCAL,
    MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
    GRISEL XAHUENTITLA,
    HUGO HERNANDEZ,
    LOURDES ARGUETA,
    JESUS GAYTAN,
    OLGA ALEXAKLINA,
    DAGOBERTO VIZGUERRA, and
    DEMETRIO VALERGA
    on their own behalf and on behalf of all others
    similarly situated,
                               Plaintiffs,

             v.

    THE GEO GROUP, INC.,

                                  Defendant.


  DECLARATION OF MICHAEL J. SCIMONE IN SUPPORT OF PLAINTIFFS’
   OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        I, Michael J. Scimone, pursuant to 28 U.S.C. § 1746, declare under penalty of

 perjury as follows:

        1.        I am a Partner with the law firm Outten & Golden LLP, which, together

 with Towards Justice, the Law Office of R. Andrew Free, Milstein Law Office, The

 Kelman Buescher Firm, P.C., and Meyer Law Office, P.C., are Class Counsel in this

 action. I am an attorney in good standing admitted to practice before this Court.

        2.        I have been one of the lawyers primarily responsible for the prosecution of

 Plaintiffs’ and the Class’s claims in this case.

        3.        I make the statements in this Declaration based on my personal knowledge
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 and would so testify if called as a witness at trial.

 Depositions of Class Plaintiffs

        4.     In the course of discovery in this case, GEO requested depositions of the

 Named Plaintiffs in early 2020, and the parties have been working together to schedule

 those depositions since in or about February 2020.

        5.     The Plaintiffs in this case were all subject to immigration proceedings

 during their detention at GEO’s Aurora facility. As a result of those proceedings, several

 of the Named Plaintiffs have been deported from the United States and currently reside

 abroad. These Named Plaintiffs include Olga Alexakhina, who now resides in Russia.

        6.     As Plaintiffs have informed GEO, the Russian Federation imposes strict

 limitations on the depositions of non-United States citizens located within their borders

 for use in a U.S. legal proceeding. Voluntary depositions of willing witnesses for use in

 civil and commercial matters are not permitted under any circumstances. 1

        7.     To facilitate the deposition of Ms. Alexakhina, Plaintiffs sought to have her

 paroled into the United States for that purpose.

        8.     Counsel for GEO initially informed Plaintiffs that they would prefer to wait

 on the outcome of Ms. Alexakhina’s parole application before considering other options

 for taking her deposition abroad. To date, Plaintiffs’ efforts to secure parole for Ms.

 Alexakhina have been unsuccessful.



 1
         See Russian Federation, U.S. Department of State – Bureau of Consular Affairs,
 https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
 Information/RussianFederation.html (last visited Oct. 24, 2020).

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        9.     On March 4, 2020, counsel for GEO e-mailed counsel for Plaintiffs

 requesting the availability of several witnesses for deposition, including Ms. Alexakhina.

 On March 5, 2020, counsel for Plaintiff replied, reminding GEO of the legal impediments

 to her deposition and suggesting alternative arrangements to allow a deposition of Ms.

 Alexakhina outside of the Russian Federation.

        10.    One option proposed by Plaintiffs was for Ms. Alexakhina to travel to

 Finland or another country in which depositions of non-U.S. citizens for use in U.S.

 courts are permitted. Plaintiffs’ counsel was in the process of making the necessary

 arrangements for this travel, including securing Ms. Alexakhina a visa and passports,

 when the COVID-19 pandemic caused nearly all of Europe to close its borders to both

 Russian and United States citizens, making international travel virtually impossible.

        11.    To date, GEO’s Counsel have not suggested an alternative arrangement for

 deposing Ms. Alexakhina.

        12.    Plaintiffs remain ready to present Ms. Alexakhina for deposition if and

 when doing so becomes possible and safe.

 Exhibits

        13.    Attached hereto as Plaintiffs’ Opposition Exhibit 1 is a true and correct

 copy of excerpts from the July 22, 2020 deposition of Alejandro Menocal.

        14.    Attached hereto as Plaintiffs’ Opposition Exhibit 2 is a true and correct

 copy of excerpts from the July 23, 2020 deposition of Stuart Grassian.

        15.    Attached hereto as Plaintiffs’ Opposition Exhibit 3 is a true and correct

 copy of excerpts from the June 24, 2020 deposition of Hugo A. Hernandez Ceren.


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       16.    Attached hereto as Plaintiffs’ Opposition Exhibit 4 is a true and correct

 copy of excerpts from the June 30, 2020 deposition of Sergio Gallegos.

       17.    Attached hereto as Plaintiffs’ Opposition Exhibit 5 is a true and correct

 copy of a Segregation Unit Activity Sheet, Bates labeled GEO-MEN 00070692.

       18.    Attached hereto as Plaintiffs’ Opposition Exhibit 6 is a true and correct

 copy of excerpts from the October 27, 2017 deposition of Demetrio Valerga.

       19.    Attached hereto as Plaintiffs’ Opposition Exhibit 7 is a true and correct

 copy of excerpts from the February 21, 2018 deposition of Dagoberto Vizguerra.

       20.    Attached hereto as Plaintiffs’ Opposition Exhibit 8 is a true and correct

 copy of excerpts from the March 29, 2016 30(b)(6) deposition of Dawn Ceja.

       21.    Attached hereto as Plaintiffs’ Opposition Exhibit 9 is a true and correct

 copy of excerpts from the November 16, 2017 deposition of Jesus Yepez Gaytan.

       22.    Attached hereto as Plaintiffs’ Opposition Exhibit 10 is a true and correct

 copy of excerpts from the July 8, 2020 deposition of Luis Pagan.

       23.    Attached hereto as Plaintiffs’ Opposition Exhibit 11 is a true and correct

 copy of excerpts from the June 29, 2020 deposition of Martha Vasquez.

       24.    Attached hereto as Plaintiffs’ Opposition Exhibit 12 is a true and correct

 copy of excerpts from the July 16, 2020 deposition of Alejandro Hernandez Torres.

       25.    Attached hereto as Plaintiffs’ Opposition Exhibit 13 is a true and correct

 copy of excerpts from the October 26, 2017 deposition of Grisel Xahuentitla.

       26.    Attached hereto as Plaintiffs’ Opposition Exhibit 14 is a true and correct

 copy of excerpts from the August 5, 2020 30(b)(6) deposition of Dawn Ceja.


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           27.   Attached hereto as Plaintiffs’ Opposition Exhibit 15 is a true and correct

 copy of excerpts from the July 28, 2020 deposition of Joyce Quezada.

           28.   Attached hereto as Plaintiffs’ Opposition Exhibit 16 is a true and correct

 copy of a May 30, 2018 letter from GEO to ICE, Bates labeled GEO-MEN 00187770.

 This exhibit has been filed as a restricted document in accordance with D. Colo. L. Civ.

 R. 7.2.

           29.   Attached hereto as Plaintiffs’ Opposition Exhibit 17 is a true and correct

 copy of excerpts from the July 21, 2020 deposition of David Venturella.

           30.   Attached hereto as Plaintiffs’ Opposition Exhibit 18 is a true and correct

 copy of excerpts from the October 9, 2019 deposition of Amber Martin.

           31.   Attached hereto as Plaintiffs’ Opposition Exhibit 19 is a true and correct

 copy of excerpts from the February 27, 2020 30(b)(6) deposition of Daniel Ragsdale.

           32.   Attached hereto as Plaintiffs’ Opposition Exhibit 20 is a true and correct

 copy of excerpts from the February 28, 2020 30(b)(6) deposition of Amber Martin.

           33.   Attached hereto as Plaintiffs’ Opposition Exhibit 21 is a true and correct

 copy of the Psychiatric Report of Plaintiffs’ expert Dr. Stuart Grassian, M.D.

           34.   Attached hereto as Plaintiffs’ Opposition Exhibit 22 is a true and correct

 copy of Fatos Kaba, “Solitary Confinement and Risk of Self-Harm Among Jail Inmates,”

 104 Am. J. Pub. Health 442 (2014).

           35.   Attached hereto as Plaintiffs’ Opposition Exhibit 23 is a true and correct

 copy of Paul Gendreau, “Changes in EEG Alpha Frequency and Evoked Response

 Latency During Solitary Confinement,” 79 J. Abnormal Psych. 54 (1972).


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        36.    Attached hereto as Plaintiffs’ Opposition Exhibit 24 are true and correct

 copies of photographs of the Aurora ICE Processing Center, Bates labeled ICE 0000102,

 105, 116, 123, 128, 139, 142, 145, 152. This exhibit has been filed as a restricted

 document in accordance with D. Colo. L. Civ. R. 7.2.

        37.    Attached hereto as Plaintiffs’ Opposition Exhibit 25 is a true and correct

 copy of the Detainee Orientation Video Script 042705, Bates labeled GEO_MEN

 00056575-81. This exhibit has been filed as a restricted document in accordance with D.

 Colo. L. Civ. R. 7.2.

        38.    Attached hereto as Plaintiffs’ Opposition Exhibit 26 is a true and correct

 copy of the Detainee Orientation Video Script 082507, Bates labeled GEO-MEN

 00075173-83. This exhibit has been filed as a restricted document in accordance with D.

 Colo. L. Civ. R. 7.2.

        39.    Attached hereto as Plaintiffs’ Opposition Exhibit 27 is a true and correct

 copy of excerpts from the June 10, 2020 deposition of Brian Evans.


  Dated: New York, NY                             Respectfully submitted,
         October 26, 2020
                                                  By: /s/ Michael J. Scimone
                                                  Michael J. Scimone
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                                                  Class Counsel




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